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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

GEORGE JARVIS AUSTIN, Plaintiff                       SWORN-AFFIDAVIT: MR. AUSTIN NEVER
                                                      GAVE CONSENT AS MANDATED BY
                                                      EQUAL PROTECTION (14th AMEND;
                                                      TITLE VI)AND 42 USC 1981 (13th
                                                      AMEND.) ONGOING VIOLATIONS;
                                                      COMPARE: www.senate.ca.gov/media/20130814
                                                      _267/video
v.

GEORGETOWN UNIVERSITY, et. al. Defendants.
(Federal Tax Identification Number: XX-XXXXXXX)

Case No. 4:23-cv-05836-YGR (LJC)

 George Jarvis Austin, Plaintiff (Self-represented)
 2107 Montauban Ct., Stockton, CA
 209.915.6304,
 gaustin07@berkeley.edu




Note: Mr. George Jarvis Austin is an admitted Georgetown student, filing complaint(s) about Georgetown’s
ongoing 1. Equal Protection 2. 42 USC 1981 3. Deceit, False Promises, Misrepresentations, Omissions and
Actual Fraud (with Malice) 4. Negligence and 5. Bad Faith violations of his rights (including fundamental
violations of privacy, contract, and publicity rights as well as those enumerated above) as witnessed by over
50+ separate persons. As a Pro Se Litigant, and individual person, Mr. Austin upholds, and reminds of, his as
well as Georgetown’s ongoing duty to privacy (and other enumerated duties) throughout the litigation, or
settlement, phases of this legal process with $10 - $15 million minimum Demand depending on structure,
context and timing).
Mr. Austin is a whistleblower; As part of providing ‘notice’ of documented formal complaints to Georgetown
ideaa@georgetown.edu, generalcounsel@georgetown.edu, presidentsoffice@georgetown.edu,
media@georgetown.edu, privacy@georgetown.edu, visualidentity@georgetown.edu, lawdeanofstudents
@georgetown.edu, (showing “deliberate indifference; discriminatory animus)” included 50+ outside expert
‘witnesses’ including ocr@ed.gov, privacyTA@ed.gov, studentaid@ed.gov, and
whistleblowercoordinator.oig@ed.gov, in real time.
NOTE: Mr. Austin’s (Plaintiff’s, self-represented with limited resources) technology is not currently allowing the
showing of line numbering although he has repeatedly attempted to correct the technological issue (it is
unintentional, and shall be corrected as soon as able) Erickson v. Pardus, 551 U.S. 89, 94 (2007)) “a pro se
complaint, .. must be held to less stringent standards than formal pleadings drafted by lawyers.”)
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      SWORN AFFIDAVIT: MR. AUSTIN NEVER GAVE GEORGETOWN CONSENT,
     WRITTEN (AS MANDATED) NOR OTHERWISE, THUS HIS FEDERAL, EQUAL
     PROTECTION (14th AMEND.; CIVIL RIGHTS ACT OF 1964; TITLE VI)
     AND 42 USC 1981 RIGHTS TO CONTRACT (13th AMEND.) HAVE BEEN
        AND ARE CONTINUALLY BEING VIOLATED (TO DATE). 3;15;17
        COMPARE (CONSENSUAL) www.senate.ca.gov/media/20130814_267/video

     (ESPECIALLY PROVIDED DOCUMENTED ONGOING FORMAL COMPLAINTS;
          GEORGETOWN’S DEMONSTRATED DELIBERATE INDIFFERENCE
        (‘WHISTLEBLOWER”) PRE & POST SERVICE OF PROCESS DCKT#14)

          1.     SWORN AFFIDAVIT: MR. AUSTIN NEVER GAVE CONSENT
                       “But, let your communication be, Yea, yea; Nay, nay”
                                         - Matthew 5:37
1.      Mr. Austin never gave consent (written or otherwise) 3;15;17; Never was

asked for the opportunity to provide consent; Georgetown just took, exploited, and

profited in violation of his Constitutional rights to contract and current applicable

law with the ongoing attitude, pattern, policy and practice of an enslaver.




Defendant Georgetown went out of their way to violate their own policies, student

contract, standard(s) of care, the Constitution (including Equal Protection Clause;

section 1981), and Current law, to exploit Mr. Austin’s person, rights, and


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likeness.3;15;17. Mr. Austin notes for the Court that Defendant Georgetown has

provided its own Affidavit in its written admission of non-consensual business (See

Mitch Bailin’s letter on both FAC introduction sec. XIX; & FACTS para 60; ) use of

Mr. Austin’s photo which is in direct violation of applicable laws, its own

policies-contract, and the Constitution including 42 USC 1981 right to contract.

2.    Mr. Austin was previously ‘consensually’ recorded by other organizations for

non-commercial, government, use as part of his job responsibilities knowingly, and

consensually, in the California Senate; Capital Fellows but has never experienced

the combined illegal audacity of a Defendant’s admitting their violations along with

their publicly hypocritical (and illegal) exploitation for business use (with expressly

discriminatory ongoing conduct). Compare (Consensual; Knowing use) www.senate.

ca.gov/media/20130814_267/video; As Mr. Austin articulated in his FAC para. 74-77;

111-112:

      “74.     Taking persons, or human beings, without consent is kidnapping, or enslavement.
      See e.g. Amistad (written decades before the 13th, 14th or 15th Amendments’ Constitutional
      enshrinement, 16 years before Dred Scott [most racist opinion which helped directly spark
      the Civil War within 5 years of its ruling,] argued by 1 of 2 non-slave holding ex-Presidents of
      the United States, at the time, already recognizing the personhood, and fundamental rights
      of Black men and persons, including the right to self defense, even against White Corporate
      for-profit enslavers per La Amistad) The United States v. the Amistad, 40 U.S. 518 (1841)
      See Dckt #8-74 Stripping rights, or reducing a human being to anything less than a full
      human being, with all rights and privileges is enslavement; barbarity. Sex without consent
      is rape. Taking another’s Property without consent is theft or conversion.
      75.      Under current law these are principles commonly understood, as is the legal, and
      moral, liability of a world renowned university, in the business of teaching law, knowing (by
      its own written admissions www.georgetown.edu/privacy-policy/;
      publicaffairs.georgetown.edu/communications/policies/policy-for-filming-at-georgetown-unive
      rsity/) that it is illegal to take, and make public, an up close photo without prior written
      authorization agreement, and consent, of an admitted student: See Dckt #8-75;
      studentprivacy.ed.gov/faq/faqs-photos-and-videos-under-ferpa




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      76.      Georgetown itself has made this argument in Federal Court (with D.C. Circuit's
      status and prestige among American federal courts generally considered second only to the
      U.S. Supreme Court): See Dckt #8-76 ; GEORGETOWN COLLEGE v. D.C. BRD., ZONING
      ADJ, 837 A.2d 58, 79 n.21 (D.C. 2003); Moreover, it is even more illegal to then use that
      photo to publicize, market, and make public for pecuniary gain Mr. Austin’s privacy, and
      publicity, rights protected image, likeness or close up photo. Yet, Georgetown did so
      knowingly, and willfully (despite their own Federal Court arguments against being forced to
      disclose this type of data, or information), and even after admissions of their initial
      wrongdoing and still proceed, to date, in a pattern of 1. Equal Protection, 2. 42 USC 1981 3.
      Deceit 4. Negligence and 5. Bad Faith to Mr. Austin’s detriment (without repentance, nor
      correction to Mr. Austin’s ongoing legal injuries proximately caused by Georgetown);
      77.      Unfortunately, for Georgetown, they have chosen to treat Mr. George Jarvis Austin,
      an admitted student, Black man, person, and human being, in an inferior manner as
      compared to similarly situated non-Black male admitted students, repeatedly and
      ongoingly…….
      111.     Georgetown publicly admits, and knows, that written authorization requires a. Mr.
      Austin’s prior notice of his picture being taken, b. prior notice of purpose, c. prior notice of
      commercial or business use, d. prior presentation of written contractual agreement to
      consent to business or commercial use, e. prior Georgetown General Counsel approval of form
      and f. his signature consenting to it prior to its use. Georgetown admits it had none of the
      above from Mr. Austin. Georgetown’s first acknowledgement of its use was in the 2019 letter
      after the fact of Georgetown’s exploitation without Mr. Austin’s consent (and, after lying to
      Mr. Austin previously). See e.g. fairuse.stanford.edu/overview/releases/release -agreements/
      See also e.g. www.contractscounsel.com/t/us/ authorization-agreement See also e.g.
      www.rocketlawyer.com/business-and-contracts/intellectual-property/
      releases-and-licensing/legal-guide/when-you-need-a-photo-release#use-of-likeness-forms-and-
      photo-release-forms (Making money from the pictures you take … requires a contract; A Photo
      Release Form is needed whenever you wish to use another person's likeness. Likeness, in a
      legal sense, is one's appearance or reputation, and without a signed model release, the person
      photographed owns that likeness.) See also e.g. Harper v. United States Seafoods LP 278 F.3d
      971 (9th Cir. 2002): See Dckt #9-111 No offer, no acceptance, no signature (per Georgetown’s
      mandatory signed written authorization requirement), then no contract and thus
      Georgetown’s legal violation.
      112.     Georgetown went out of its way to violate every related Georgetown publicly listed
      policy, and the law (including mandatory written authorization agreement) while exploiting
      Mr. Austin’s image, and likeness, for business purposes to intentionally and literally deprive
      Mr. Austin’s right to contract under 42 USC 1981 because he is a Black man and admitted
      student, while providing unfair advantages with limited resources to similarly situated
      non-Black male, or White, students.”

3.    Notice as Mr. Austin Won (along with 17 others) a top 10 out of 820+, elite,

uber- competitive Senate fellowship (1 of 64 Capital Fellowship winners; CA Senate)

his consent from beginning was respectfully asked for (even for something

non-commercial, non-business, and in the public-government service-interest) See


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e.g. https://www.youtube.com/watch?v=FWCleEPIPK4 (“Capital Fellows Is Tops

Again; YouTube · Sacramento State; Nov 29, 2012”) From the beginning, and with

each different use of his name-photo-likeness, Mr. Austin’s express consent was

sought not just directly with the Senate-Legislature; Capital Fellows organizations,

but with each antecedent or auxiliary announcements ( as well as with the potential

breadth and depth of uses of likeness prior to their use). See e.g.

      “The now-25-year-old, along with fellow Stockton native George Austin, is receiving the
      opportunity to be at the forefront of state politics for 11 months starting in October after
      being chosen to be among 18 Senate Fellows as part of the state's Capital Fellows
      Program….. But being chosen for the program is no easy task…..The Capital Fellows
      program has twice been named one of the top 10 best internships alongside the likes of
      NASA, the Smithsonian Institution and Google Inc. Vault.com, a career-planning website
      that gave the Capital Fellows that top 10 placing out of 821 internship programs, bases its
      high-ranking selections on the all-around experience interns receive…."It's a rigorous
      program," Bunch said. "It's like a yearlong training for them, but they're not only doing an
      internship, they're also taking graduate courses."...There were more than 1,300 applications
      for the program each of the past two years. Only 64 people are chosen for the entire
      program.”
           - www.recordnet.com/story/news/2012/09/08/just-one-fellows/ 49419856007/




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4.    As articulated above, Mr. Austin Won a Fellowship in the top 10 out of 820+

(in CA Senate; most competitive entry less than 4% acceptance rate, my year, for

that program, 1 of 18 selected winners (1 of 2 winners out of that area)

www.recordnet.com/story/news/2012/09/08/ just-one-fellows/49419856007/ was

unavailable for press interview at the time but celebrated and honored publicly in

the piece of over 400 elite competitors nationwide, declined automatic job offer as I

gave my word to another commitment and already deferred for a year). Mr. Austin

was asked ahead of time from colleagues and supervisors to use name, image, or

likeness in Senate Daily File (see below), California Channel Committee Recordings


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(see e.g. www.senate.ca.gov/ media/20130814_267/video), Capital Fellows Video (see

above; see below screenshot) which appears on Google search “Capital Fellows Still

Tops,” Respective newspaper announcements, etc. See below examples:




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5.     In various other situations the obviousness of the need to ask Mr. Austin’s

consent before using his likeness, image, or name by organizations, and subsequent

indications of likely consent are demonstrated in various examples including work

IDs (Tesla Work ID below; Senate Consultant Work ID above) school IDs

(Georgetown School ID), early (Kindergarten) newspaper article interview (See

below), or even knowing and consented commercial use (Fox - 36th NAACP Image

Awards See below), and College Graduation photo. Notice Mr. Austin’s awareness,

front facing, or direct engagement to contrast with Georgetown’s exploitative, right

to contract violating capture, non-awareness, non-consensual choices (and ongoing

refusal to correct).




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“From: Ashley L Jennings <alb225@law.georgetown.edu>
To: "gaustin07"
Sent: Thursday, May 31, 2012 at 09:27:12 AM PDT
Subject: RE: 1-year Deferral Request for Capital Fellows Program- George Austin

Hi George,

This e-mail serves as official notification that your request to defer admissions to Georgetown
University Law Center until Fall 2013 has been granted, and Dean Cornblatt looks forward
to welcoming you to the full-time program next fall. As mentioned in our previous
correspondence, your deferment is binding and you should begin withdrawing all other
pending law school applications. Please note it is your responsibility to notify us, in writing,
of any change of address during your deferment period so that we may forward future
correspondence to you.

Our records indicate that your first tuition deposit (totaling $400) has been received. This
deposit is non-refundable and will be credited toward the tuition for your first year.

Your second tuition deposit will be due in June 2013. You'll be able to find more information
once we launch next year's admitted student website.

Please let me know if you have any questions, and best of luck to you in the coming year!

Warm regards,



Ashley Jennings

Assistant Manager, Office of Admissions

Georgetown University Law Center

600 New Jersey Ave., NW, Room 589

Washington, DC 20001

202.662.9010 Phone

202.662.9439 Fax




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From: George Austin [mailto:gaustin07]
Sent: Wednesday, May 30, 2012 2:52 PM
To: Ashley L Jennings
Cc: Admitted Student Hotline
Subject: 1-year Deferral Request for Capital Fellows Program- George Austin

Hi Ashley,

I sent this a few days back, but I just saw in my email that there was an error while trying to
send.

So I am resending just in case it was not received. Please let me know you have received this
request.

Thank you very much for your previous follow up and the guidelines you provided.

I was recently accepted into the Capital Fellows Program and would like to request a 1-year
deferral.

Below is my formal request based on those guidelines.

Please let me know if anything else is needed for a successful request.

Thank you,

George




Dear Dean Cornblatt and Members of the Admissions Committee,

I am extremely excited about attending Georgetown Law School.

I look forward to the wonderful learning environment and the opportunity to grow with my
classmates.

I plan to be one of the best Georgetown students and alumni in the history of the school. To
achieve this goal I want to maximize key opportunities to expand my understanding of the
law, its context and its application.

One great opportunity for me to grow toward my goal is as a Capital Fellow
(http://www.forbes.com/sites/susanadams/2011/03/09/the-best-internships-for-2011/).

I have been selected as 1 of 18 Senate Fellows nationally within the Capital Fellows
program. As a top 10 fellowship according to Vault & Forbes this provides a benefit both pre
and post law school. The opportunity to help draft state law and get a truly hands-on feel for
one aspect of the legal and political system will be beneficial to my understanding. It will


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also help provide an additional depth of experience to add value to classroom discussions.
From my research on the program, I am convinced it will be a net positive experience and a
value add for Georgetown, myself and my classmates.

The Capital Fellows is an efficient 10 month paid program that would require only a year
deferral to participate.

I formally request a one year deferral to grow my legal understanding through participation
in the Capital Fellows Program.

I understand that deferment is binding and conditioned upon me not pursuing admissions,
holding deferral, or attending another law school prior to matriculating at Georgetown Law.

I fully agree with those terms.

I am excited to be a GULC student and look forward to being able to add increased value to
Georgetown, my peers and myself through participation in the Capital Fellows Program.

I have included key portions of the Senate Fellows Acceptance Letter below.

Please let me know your decision.

Thank you again for the wonderful opportunity to attend Georgetown and I look forward
contributing to Georgetown's exceptional legacy.

George Austin

---------------Senate Fellows Acceptance Letter------------------------------------------------

May 15, 2012




Dear George Austin,

Congratulations! On behalf of the California State Senate and the Center for California
Studies at Sacramento State University, it is my pleasure to offer you a position as a
2012-2013 California Senate Fellow. You are an outstanding applicant, and the selection
committee believes you will have much to contribute to—and benefit from—the Senate
Fellowship program. We strive to provide Fellows with a comprehensive, experiential
learning opportunity that is professionally and personally fulfilling.



As is the case every year, our offer, including benefits and a number of graduate units, is
contingent on final adoption and approval of funding in the state budget. The Legislature
and Governor Jerry Brown are very supportive of the program, and we are very confident in
being able to fund a full class of 18 Fellows.


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Senate Fellows receive a monthly stipend of $1,972 plus comprehensive health coverage and
visual and dental benefits. If you have pending student loans, repayment can be deferred
during your fellowship year. The Senate program pays the tuition, books, and fees required
to register as a graduate student at the California State University of Sacramento and you
can earn up to 6 units of graduate student university credit.

We want to inform you of the availability of the Timothy A. Hodson Capital Fellows
Assistance Fund for fellows accepted into the program. There will be one or more awards not
to exceed a grand total of $5,000. For additional information see attachment.

We look forward to working with you this year. Should you have any additional questions,
concerns, or would just like to talk, please don’t hesitate to contact us. You can contact David
Pacheco at (916) 278-5408 or on his cell at (916) 549-8457. You may also reach me at (916)
278-4874.

Congratulations and best wishes!

Sincerely,

Jennifer Calbonero

Jennifer Calbonero, Program Assistant

California Senate Fellows”




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---------- Forwarded message ---------
From: George Austin <gaustin07@berkeley.edu>
Date: Mon, Sep 11, 2023 at 11:51 AM
Subject: 9.11.23 - List of Previously, and Still, Unanswered Questions Re: Misstatements and Omissions
To: ideaa@georgetown.edu <ideaa@georgetown.edu>
CC: <Olabisi.Okubadejo@georgetown.edu>, emb257@georgetown.edu <emb257@georgetown.edu>,
<kilkennr@georgetown.edu>, <lawdeanofstudents@georgetown.edu>, presidentsoffice@georgetown.edu
<presidentsoffice@georgetown.edu>, vicepresident@georgetown.edu <vicepresident@georgetown.edu>



Good Afternoon, Georgetown University

1. Why did Georgetown not ask my permission before using my up close photo for advertising purposes?

2. Why did Georgetown not get my written consent, nor use of form (as reasonable expectation of privacy standards
are similar for medical and student records) for use or release of an up close photo of an admitted student for
advertising or marketing purposes?

3. Why was it materially omitted that the photo was taken, was made public, and was used without my consent, to
the person and admitted student [whose] rights were being exploited?



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      4. Why when I first asked Georgetown leadership, (after someone outside of the school was the first to tell me my
      photo was being used for that purpose) was the photo authentic, and actually being used for advertising, was it
      affirmatively denied, and I was lied to?

      5. Why when several months later, after Mitch Bailin finally admitting that they in fact took the photo and used the
      photo for that purpose, did they refuse to tell how many physical brochures were sent or used in California, and
      elsewhere for that matter?

      6. Why was that material information repeatedly omitted by Mitch Bailin and Georgetown University Leadership,
      and continues to be omitted to date, despite my repeated inquiries?

      7. I have placed at least [5]0+ formal and informal complaints related to this specific set of topics with IDEAA and
      Georgetown Leadership ; why has no investigation, nor even follow up inquiry by those tasked to investigate these
      types of issues taken even a cursory step toward investigation nor resolution despite me being an admitted student?

      Thank you,

      George Jarvis Austin


6.    Georgetown knew it was supposed to get Mr. Austin’s consent,the same way

it knew it would need Mr. Austin to expressly enter into contract and accept their

offer (see above). Georgetown knew the same tenets of contract formation

controlled under 42 USC 1981 (and Equal Protection) for mandatory written media

authorization agreement (contract), per their own publicly admitted

policy-contract-standard of care. As noted for the Court in Dckt.15;17, both pre, and

post, Service of Process Dckt#14 (personally served on Georgetown University

(General Counsel; Vice President Office) on 11/29/2023) Mr. George Jarvis Austin,

admitted student, documents for the Court, and shows in real time Georgetown’s

facially discriminatory pattern, and practice of deliberate indifference

(“discriminatory animus”) toward Black male admitted students to their detriment.

This pattern and practice is different from the promulgated policy toward non-Black

male, or White, admitted students to their unfair advantage. Mr. Austin notes, the

requisite information sought over 100+ separate instances to be produced by

Georgetown to him, and him only, of a. how many brochures or other


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advertisements were sent to California forum b. and when, for what time period or

how long temporally were they sent there (as well as elsewhere), after Georgetown

exploited Mr. Austin’s image for business purposes without his consent is part of

relief. Specifically, the information production is part of Injunctive relief as it is

ongoing materially omitted information (fraud; deceit) still owed to Mr. Austin. See

embedded documents, communications, time-stamped affidavits (below).

7.    Because of Georgetown’s ongoing violations of Mr. Austin’s Federal rights,

including Federal Equal Protection (14th. Amend.; Civil Rights Act of 1964; Title

VI), and 42 USC 1981 (13th Amend) as an admitted student, Mr. Austin is a

whistleblower (as mentioned in the complaint, and on the cover page). As part of

providing ‘notice’ of documented formal complaints to Georgetown ideaa@

georgetown.edu, generalcounsel@georgetown.edu, presidentsoffice@georgetown.edu,

media@georgetown.edu, privacy@ georgetown.edu, visualidentity@georgetown.edu,

lawdeanofstudents @georgetown.edu, (showing “deliberate indifference;

discriminatory animus)” included now over 100+ outside expert ‘witnesses’

including ocr@ed.gov, privacyTA@ed.gov, studentaid@ed.gov, and whistleblower

coordinator.oig@ed.gov, in real time.3;15;17 Mr. Austin included a few redacted

emails (to protect privacy; contact information of witnesses) so the court themselves

can see, and observe (direct evidence), Georgetown’s conduct toward Mr. Austin, and

Black male admitted students. 3;15;17 See Cal. Evid. Code § 410 (“As used in this

chapter, "direct evidence" means evidence that directly proves a fact, without an




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inference or presumption, and which in itself, if true, conclusively establishes that

fact.”)

8.        Mr. George Jarvis Austin notes he operates by, and practices, the principle

that ‘trust’ is the highest currency. See e.g www.forbes.com/sites/forbesbusiness

developmentcouncil/2020/08/27/ trust-is-the-ultimate-currency/?sh=47e914c57855 ;

www.pwc.com/us/en/services/consulting/library/consumer-intelligence-series/trust-n

ew-business-currency.html ( Trust: the new currency for business How trust impacts

business and how companies can cultivate it ) ; bfsi.economictimes.indiatimes.com/

blog/trust-is-the-new-currency/104050659 (Trust is the New Currency) ;

medium.com/messaricrypto/the-most- valuable-currency-is-trust-befa883c29af (The

most valuable currency is trust. It is the foundation of all exchange, however

denominated. It is the foundation for all relationships.). Georgetown’s conduct, in

simultaneous violation of its own policies, its own student contract, the

Constitution, Title VI, Equal Protection and Sec. 1981, doesn’t just violate or break

its publicly stated ‘word’ on the matter, but willfully and ongoingly breaks or

violates the law. This doesn’t just destroy any semblance of trust for Georgetown,

but highlights the lengths it would go to circumvent the law with its own Black

male admitted students, and their rights in an ongoing facially discriminatory

manner (as they themselves publicly described and defined them). 3;15;17




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                       SWORN AFFIDAVIT; SIGNATURE.

All above plead facts and those included as exhibits, or affidavits, are true (with
now well over 300+ witnesses included), and as I, George Jarvis Austin personally
experienced, witnessed, and observed. These signed and sworn declarations of
facts, experiences, investigations, findings, etc. are as The Department of Justice,
National Institute of Justice specifies for the Legal Requirements of an Affidavit “A
sworn affidavit is a voluntary declaration of facts, findings, conclusions or opinions
of the declarant, given with their affirmation that the contents are also true. The
declarant or affiant swears to the veracity (truthfulness) of their statements.”
Further, all legal references which highlight, Mr. Austin’s, plead facts as relevant,
decisive, persuasive and compelling have been affirmed by the United States
Supreme Court, Ninth Circuit, Northern District and California Courts.



George Jarvis Austin

s/ George Jarvis Austin, Self Represented, 12/30/23




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